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12
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13   and the Proposed Class
14
                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
                                      WESTERN DIVISION
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18    STEVE NUÑEZ, individually and on         Case No. 2:20-cv-03846
      behalf of all others similarly
19    situated,                                CLASS ACTION COMPLAINT
20                       Plaintiff,            Demand for Jury Trial
21          v.
22    UNILEVER UNITED STATES,
      INC.,
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                         Defendant.
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 1         Plaintiff Steve Nuñez (“Plaintiff”), on behalf of himself and all others
 2   similarly situated, brings this Class Action Complaint against Unilever United
 3   States, Inc. (“Defendant” or “Unilever”), pursuant to the Class Action Fairness Act
 4   of 2005, 28 U.S.C. § 1332(d), and on the basis of personal knowledge, information
 5   and belief, and investigation of counsel, alleges as follows:
 6                                    INTRODUCTION
 7         1.     Breyers Natural Vanilla Ice Cream is an ice cream manufactured, sold,
 8   and marketed by Unilever.
 9         2.     During the period from April 27, 2016, to the present, Plaintiff
10   purchased Breyers Natural Vanilla Ice Cream in California.
11         3.     Unilever falsely and misleadingly markets Breyers Natural Vanilla Ice
12   Cream to consumers as containing only vanilla flavor from vanilla (i.e., the vanilla
13   plant) and not from non-vanilla sources. Unfortunately for consumers, this is
14   untrue, as much of the vanilla flavor comes from non-vanilla plant sources.
15         4.     In fact, Breyers Natural Vanilla Ice Cream has, at most, only a trace of
16   real vanilla, and what consumers taste is vanilla flavor provided by non-vanilla
17   sources.
18         5.     Rather than only containing real vanilla, Breyers Natural Vanilla Ice
19   Cream contains non-vanilla flavors and vanilla enhancers which are not disclosed,
20   contrary to the legal requirements and expectations of reasonable consumers.
21         6.     Unilever charges a price premium for Breyers Natural Vanilla Ice
22   Cream.
23         7.     Plaintiff would not have purchased or paid more for Breyers Natural
24   Vanilla Ice Cream had Plaintiff realized that much, if not all, of the vanilla flavor
25   came from non-vanilla plant sources.
26         8.     Plaintiff would not have purchased or paid more for Breyers Natural
27   Vanilla Ice Cream had Plaintiff known that it does not exclusively contain flavor
28   derived from vanilla beans.

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 1          9.     On behalf of himself and the proposed class members, Plaintiff seeks
 2   damages and an injunction to stop Unilever’s false and misleading marketing
 3   practices with regard to Breyers Natural Vanilla Ice Cream.
 4                              JURISDICTION AND VENUE
 5          10.    This Court has jurisdiction over this action under the Class Action
 6   Fairness Act of 2005, 28 U.S.C. § 1332(d). The amount in controversy exceeds the
 7   sum or value of $5,000,000, exclusive of interest and costs, and the parties are
 8   citizens of different states.
 9          11.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a
10   substantial part of the events and omissions giving rise to Plaintiff’s claims
11   occurred in this District, and Defendant (1) is authorized to conduct business in this
12   District and has intentionally availed itself of the laws and markets of this District
13   through the promotion, marketing, distribution, and sale of its products here, (2)
14   resides in this District, and (3) is subject to personal jurisdiction in this District.
15                                           PARTIES
16          12.    Plaintiff Steve Nuñez is a resident of the City and County of Los
17   Angeles, California.
18          13.    During the period from April 27, 2016, to the present, in California,
19   Plaintiff purchased Breyers Natural Vanilla Ice Cream for personal, family, or
20   household use.
21          14.    The front of the cartons of Breyers Natural Vanilla Ice Cream that
22   Plaintiff purchased said “Natural Vanilla” in large, light green letters against a
23   black background, and the front of the cartons contained pictures of two vanilla
24   beans and vanilla flowers and a scoop of the ice cream with noticeable specks
25   purporting to be actual vanilla beans. Plaintiff relied upon these representations
26   when Plaintiff purchased Breyers Natural Vanilla Ice Cream. Plaintiff believed that
27   the vanilla flavor in the Breyers Natural Vanilla Ice Cream would come only from
28   the vanilla plant. Plaintiff would not have purchased Breyers Natural Vanilla Ice

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 1   Cream had Plaintiff understood the true flavor composition of the product.
 2         15.    Plaintiff would purchase Breyers Natural Vanilla Ice Cream again in
 3   the future if the product were remedied to reflect Defendant’s labeling and
 4   marketing claims for it.
 5         16.    Defendant Unilever United States, Inc., is incorporated in Delaware,
 6   with its principal place of business in Englewood Cliffs, New Jersey.
 7         17.    Unilever is one of the world’s largest food and consumer packaged
 8   goods companies, and it produces and markets ice cream products in the United
 9   States and throughout the world. Unilever sells ice cream under the “Breyers” brand
10   name throughout California.
11                              FACTUAL ALLEGATIONS
12         18.    As “natural, organic and better-for-you trends proliferate, demand has
13   flourished for naturally sourced vanilla.”1
14         19.    Manufacturers have responded “by transitioning from artificial to
15   natural ingredients,” including “natural vanilla ingredients.”2
16         20.    However, global climate disruptions resulting in natural disasters
17   befalling the primary vanilla producing country of Madagascar, have caused global
18   vanilla shortages.
19         21.    This disruption in available vanilla has caused companies to cut
20   corners when it comes to their premium vanilla ice cream products.
21         22.    According to John B. Hallagan and Joanna Drake, the former and
22   current legal advisors for The Flavor and Extract Manufacturers Association of the
23   United States (“FEMA”):
24         When consumers purchase ice cream labeled as “vanilla ice cream” they
25         expect it to be flavored with vanilla flavoring derived from vanilla beans
26         unless labeled otherwise. As we shall see, this expectation is codified in
27   1
       Amanda Del Buono, Suppliers utilize cost-effective vanilla ingredient solutions,
     Beverage Industry (last updated Oct. 14, 2016).
28   2
       Id.

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 1         two U.S. federal standards of identity, one for vanilla flavorings and one
 2         for ice cream.3 (emphasis added).
 3         23.    21 C.F.R. § 135.110(f)(2)(i), referred to as “Category 1,” states:
 4         If the food contains no artificial flavor, the name on the principal display
 5         panel or panels of the label shall be accompanied by the common or
 6         usual name of the characterizing flavor, e.g., “vanilla”, in letters not less
 7         than one-half the height of the letters used in the words “ice cream”.
 8         24.    That the ice cream regulations are meant to be read “together with the
 9   vanilla standard of identity means that the characterizing flavor for this [Category
10   1] ice cream must be provided only by vanilla extract complying with the standard
11   at 21 CFR Section 169.175, or another standardized vanilla flavoring derived solely
12   from vanilla beans.”4
13         25.    The International Dairy Foods Association summarized the unique
14   distinction between natural and artificial flavors in the context of ice cream as
15   follows:
16         Flavors which are derived from natural sources other than the
17         characterizing flavor and simulate, resemble or reinforce the
18         characterizing flavor, are considered artificial flavors. Products flavored
19         in such a manner must be labeled according to either flavor labeling
20         requirements of Category II or III products.5
21         26.    Though the text of 21 C.F.R. § 135.110(f)(2)(i) does not distinguish
22   between flavor from the natural characterizing flavor and natural flavors from
23   sources other than the characterizing flavor, the regulations for vanilla and ice
24   cream products “are supplemented by a formal [Food and Drug Administration
25   (‘FDA’)] Advisory Opinion, and a collection of FDA-issued regulatory
26   3
       John B. Hallagan and Joanna Drake, The Flavor and Extract Manufacturers
     Association of the United States, “Labeling Vanilla Flavorings and Vanilla-
27   Flavored Foods in the U.S.,” Perfumer & Flavorist, Apr. 25, 2018.
     4
       Hallagan, supra note 3, at p. 11.
28   5
       IDFA, Ice Cream & Frozen Desserts Labeling Manual, 2019 Ed.

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 1   correspondence.”6
 2         27.    The 1983 Advisory Opinion cited by Hallagan and Drake states that 21
 3   C.F.R. § 135.110(f) “makes no provision for any natural flavors other than natural
 4   characterizing flavors,” which means the “FDA must treat all natural flavors that
 5   simulate the characterizing flavor as artificial flavors when deciding what name
 6   should appear on the principal display panel.”7
 7                        SPECIFIC MISREPRESENTATIONS,
 8                MATERIAL OMISSIONS, AND DECEPTIVE ACTS
 9                            Misleading and Deceptive Name
10         28.    The Breyers Natural Vanilla Ice Cream product name is false,
11   misleading, and unlawful because Breyers Natural Vanilla Ice Cream does not get
12   its flavoring only from vanilla beans, but the product name implies otherwise.
13         29.    The front label of Breyers Natural Vanilla Ice Cream is represented as
14   complying with 21 C.F.R. § 135.110(f)(2)(i) (“Category 1”) because the front label
15   only mentions the “Natural Vanilla” flavoring through the name, “Natural Vanilla,”
16   pictures of vanilla beans and vanilla flowers, “Rainforest Alliance Certified
17   Vanilla” seal, and picture of the ice cream containing what appear to be vanilla
18   bean specks, as the image below shows:
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      Hallagan, supra note 3, at p. 1.
28   7
      Hallagan, endnote 7, FDA, 1983. Letter dated 9 February 1983 from FDA to
     FEMA constituting an FDA Advisory Opinion.
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 1                    Breyers Natural Vanilla Ice Cream Front Label
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17         30.    These representations are misleading and unlawful because Breyers
18   Natural Vanilla Ice Cream contains flavors not derived from the vanilla bean from
19   the vanilla plant.
20               BREYERS VANILLA FLAVORING COMES FROM SOURCES
21                          OTHER THAN THE VANILLA PLANT
22         31.    Laboratory analysis of Breyers Natural Vanilla Ice Cream evidences
23   that most of the vanilla flavor comes from non-vanilla plant sources.
24         32.    Specifically, in November of 2019, the Center for Advanced Food
25   Technology at Rutgers University conducted laboratory analysis on Breyers Natural
26   Vanilla Ice Cream that determined that most of the vanilla flavoring comes from
27   non-vanilla bean sources.
28         33.    Distinguishing real vanilla from artificial vanilla is a challenging task

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 1   because every time a new high tech authentication method is adopted, “bad actors”
 2   find ways to “beat the test,” such as artificial vanillin designed to contain isotopes
 3   present in real vanilla.
 4         34.    This is why identifying the presence and amount of the following four
 5   vanilla marker compounds is valuable:
 6                       Compounds           Percent Present in Vanilla Beans
 7                         vanillin                      1.3-1.7 %
 8                p-hydroxybenzaldehyde                     0.1%
 9                       vanillic acid                     0.05%
10                 p-hydroxybenzoic acid                   0.03%

11         35.    The testing of Defendant’s Breyers Natural Vanilla Ice Cream did not
12   detect p-hydroxybenzaldehyde, vanillic acid, or p-hydroxybenzoic acid, which
13   means the Breyers Natural Vanilla Ice Cream has, at most, a small amount of
14   vanilla from vanilla beans, in accordance with the following chart:
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22         37.    Moreover, the fact that Breyers Natural Vanilla Ice Cream has elevated
23   levels of vanillin evidences that the vanillin is from non-vanilla bean sources, which
24   can include ferulic acid or wood pulp (referred to as lignin).
25         38.    The absence of detectable levels of p-hydroxybenzaldehyde, p-
26   hydroxybenzoic acid, and vanillic acid, coupled with vanillin levels, indicates this
27   vanillin is not real vanilla from the vanilla plant, which deceives consumers.
28         39.    The Breyers Natural Vanilla Ice Cream also contains maltol, a

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  1   compound not found in vanilla beans, but which is “used to enhance the flavor and
  2   aroma of fruit, vanilla, and chocolate flavored foods and beverages.”8
  3         40.    That Breyers Natural Vanilla Ice Cream contains non-vanilla flavors
  4   can also be concluded by experts in the field of food labeling (but not the
  5   reasonable consumer) from the side panel of the Breyers Natural Vanilla Ice Cream
  6   packaging, which states as follows:
  7                                     Information Panel
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 22         41.    The ingredient list identifies “MILK, CREAM, SUGAR,
 23   VEGETABLE GUM (TARA), NATURAL FLAVOR.”
 24         42.    The flavor compound analysis indicating flavors not found in vanilla
 25   and flavors used to enhance vanilla (i.e., maltol), and the ingredient list not
 26   specifying “vanilla extract complying with the standard at 21 CFR Section 169.175,
 27   or another standardized vanilla flavoring derived solely from vanilla beans,”
 28   8
       Natural Maltol, Elan Chemical Company Inc., UL Prospector,
      https://www.ulprospector.com/en/na/Food/Detail/10751/327455/Natural-Maltol.
                                                 9
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  1   support the conclusion that Breyers Natural Vanilla Ice Cream contains non-vanilla
  2   artificial flavors that give the impression of more vanilla.9
  3          43.    The Breyers Natural Vanilla Ice Cream cannot be “Category 1”
  4   because its side panel concedes it does not contain only vanilla flavor from the
  5   vanilla plant.
  6          44.    Assuming the Breyers Natural Vanilla Ice Cream contains a small
  7   amount of vanilla, this is its “natural characterizing flavor.”
  8          45.    However, the laboratory analysis shows that “the artificial flavor
  9   predominates” in the Breyers Natural Vanilla Ice Cream because the vanillin levels
 10   appear to be much greater than 1 ounce per unit of vanilla constituent. See 21
 11   C.F.R. § 135.110(f)(2)(iii) (“If the food contains both a natural characterizing flavor
 12   and an artificial flavor simulating it, and if the artificial flavor predominates, . . . the
 13   name on the principal display panel or panels of the label shall be accompanied by
 14   the common name of the characterizing flavor . . . , preceded by ‘artificial’ or
 15   ‘artificially flavored’ . . . .”); see also C.F.R. §135.110(f)(5)(i) (“An artificial flavor
 16   simulating the characterizing flavor shall be deemed to predominate: (i) In the case
 17   of vanilla beans or vanilla extract used in combination with vanillin if the amount
 18   of vanillin used is greater than 1 ounce per unit of vanilla constituent . . . .”).
 19          46.    Due to the artificial vanilla flavor predominating, the Breyers Natural
 20   Vanilla Ice Cream is required to be labeled as “artificial vanilla” or “artificially
 21   flavored vanilla.” See 21 C.F.R. § 135.110(f)(2)(iii).
 22          47.    Even if the amount of vanillin were not “greater than 1 ounce per unit
 23   of vanilla constituent,” the Breyers Natural Vanilla Ice Cream would still be
 24   required to say “artificial vanilla” because it contains maltol, a “flavor from a non-
 25   vanilla bean source (which simulates, resembles, or reinforces the vanilla flavor).”10
 26          48.    The alternate side panel describes the Breyers Natural Vanilla Ice
 27   Cream as follows:
 28   9
        Hallagan,
               supra note 3.
      10
        FDA, Newberry to Thompson, October 30, 1979.
                                                  10
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  1                “Made With Non-GMO Sourced Ingredients”
  2                “At Breyers, We Start With Only High Quality Ingredients.”
  3                “Our Colors and Flavors Come From Natural Sources.”
  4                “Our Vanilla and Fruit Are Real and Sustainably Farmed.”
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 28         49.      Unilever’s statements about its ingredients are false, deceptive, and

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  1   unlawful because even though its “Flavors Come From Natural Sources” and are
  2   listed on the ingredient list as “Natural Flavor,” the non-vanilla flavors are deemed
  3   “artificial” in the context of a Category 1 vanilla ice cream.
  4            50.   Reasonable consumers are not aware of the distinction between natural
  5   and artificial flavors in ice cream products and are misled to expect all the flavor is
  6   from vanilla beans.
  7            51.   Unilever intended for Plaintiff to be misled by Breyers Natural Vanilla
  8   Ice Cream by highlighting the vanilla component of the natural flavor, even though
  9   it knew that ice cream products which were not flavored only from vanilla cannot
 10   be labeled as “vanilla ice cream.”
 11             52. Breyers Natural Vanilla Ice Cream is an example of a food that is
 12   labeled as “vanilla” that is clearly mislabeled and therefore in violation of FDA
 13   regulations. A common violation is to label a food product such as ice cream in a
 14   way that leads consumers to believe that it is flavored with vanilla extract, or
 15   another vanilla flavoring derived solely from vanilla beans, as defined in the federal
 16   standard of identity, when in fact it is not.11
 17                         Misleading and Deceptive Representation:
 18                            Vanilla Beans without Vanilla Flavor
 19            53.   Unilever has created and disseminated numerous advertisements on
 20   television and radio which promote Breyers Natural Vanilla Ice Cream as
 21   containing only vanilla as flavoring, as discussed below.
 22            54.   In one commercial entitled “The Vanilla Bean,” kids are shown
 23   becoming excited as they examine the vanilla bean specks in the Breyers Natural
 24   Vanilla Ice Cream:
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           Hallagan, supra note 3, at p. 53.
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  1                           “The Vanilla Bean” Commercial
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 21         55.   The Vanilla Bean commercial promotes Breyers Natural Vanilla Ice
 22   Cream as containing real vanilla bean seeds, also known as “specks.”
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  1                                  Vanilla Bean Seeds
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 12         56.   The commercial ends with a voiceover describing Breyers Natural
 13   Vanilla Ice Cream as “The good vanilla.”
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 25         57.   Unilever’s website states:
 26         Do you see those specks? Those are real vanilla beans. That heavenly
 27         vanilla in Natural Vanilla is also 100% sustainably sourced, so you can
 28         enjoy it even more, knowing that you’re supporting farmers and their

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  1         families in Madagascar through our partnership with the Rainforest
  2         Alliance. We believe that the quality of our ingredients makes the most
  3         delicious vanilla ice cream, and that’s why even today we keep true to
  4         William Breyers® pledge of purity.12
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  9         58.   Vanilla bean specks are the:
 10         tiny black seeds that line the inside of a vanilla bean.
 11         When flavor houses extract vanilla beans to make vanilla extract, the
 12         goal is to extract all possible flavor from the bean, including its seeds.
 13         After the vanilla extract has percolated for an optimal time, the vanilla
 14         bean pods and seeds sink to the bottom and are filtered from the extract.
 15         As a final step, the vanilla bean seeds are sifted from the spent vanilla
 16         bean pods.
 17         The resulting bean pods and seeds are known as “exhausted,” because
 18         all flavor has been extracted.13
 19         59.   The FDA has long prohibited adding such ingredients to food, stating:
 20         Spent vanilla beans are considered an adulterant under Section 402(b)
 21         of the Federal Food, Drug, and Cosmetic Act. We have consistently
 22         considered spent spice ingredients adulterated because of extraction of
 23         essential ingredients.14
 24         60.   According to the Alcohol and Tobacco Tax and Trade Bureau
 25   (“TTB”), the addition of “ground vanilla beans which had been exhausted . . . do
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      12
        https://www.breyers.com/us/en/products/natural-vanilla.html
 27   13
        Cook’s Blog, Vanilla Bean Seeds: A Troubling New Trend, June 13, 2019.
      14
        Walter Moses, Division of Industry Advice, FDA, to Alan H. Kaplan, May 10,
 28   1965.

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  1   not constitute a legitimate article of commerce for food use in that the valuable
  2   constituents, the flavoring principles, have been omitted or abstracted therefrom.”15
  3   See 21 U.S.C. § 342(b)(1) (“A food shall be deemed to be adulterated – If any
  4   valuable constituent has been in whole or in part omitted or abstracted therefrom.”).
  5         61.     The FDA and TTB are clear that “[t]his type of adulteration cannot be
  6   corrected by any form of labeling.”16 See Moses Letter, supra note 14 (“We are
  7   unable to suggest any way that your client might use a combination of spent vanilla
  8   beans with other flavoring materials in ice cream.”).
  9         62.     The added exhausted vanilla beans only give the false impression that
 10   Breyers Natural Vanilla Ice Cream contains a greater amount of vanilla than it
 11   actually does.
 12                              Misleading and Deceptive Omission
 13               of the Key Differentiating Component: Non-Vanilla Flavors
 14         63.     Unilever falsely and misleadingly markets Breyers Natural Vanilla Ice
 15   Cream as having all of its flavor coming from the vanilla plant.
 16         64.     Unilever, in its naming and marketing of Breyers Natural Vanilla Ice
 17   Cream, misleadingly, deceptively, and unlawfully omits any clear and conspicuous
 18   indication that the product contains non-vanilla flavor and that the amount of
 19   vanilla is not enough to provide the vanilla taste sought by consumers to the ice
 20   cream.
 21         65.     The labeling and marketing of Breyers Natural Vanilla Ice Cream does
 22   not enable consumers to understand readily the distinction between natural vanilla
 23   and “natural flavors,” which is the central difference between items labeled
 24   “Vanilla Ice Cream” and those with labels qualified by the terms “flavored” or
 25   “artificially flavored.”
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      15
         Letter from Chester T. Hubble, Director of Administrative Review, Bureau of
 27   Enforcement, Bureau of Alcohol, Tobacco Tax Division, U.S. Treasury to Anthony
      Filandro, Virginia Dare Extract Company, Inc., August 23, 1960; TTB has
 28   authority over extract of vanilla due to alcohol content.
      16
         Hubble letter, supra note 15.
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  1         66.    Unilever misleads consumers by advertising Breyers Natural Vanilla
  2   Ice Cream as a premium ice cream containing a sufficient amount of flavor from
  3   the vanilla plant and only the vanilla plant, capable of providing a vanilla taste to
  4   the ice cream.
  5         67.    However, consumers are deceived because what they taste are
  6   ingredients and flavors designed to mimic and imitate vanilla, such as maltol and
  7   vanillin from non-vanilla sources.
  8                              Reliance and Economic Injury
  9         68.    When purchasing Breyers Natural Vanilla Ice Cream, Plaintiff sought
 10   a product with a materially greater amount of vanilla than Breyers Natural Vanilla
 11   Ice Cream actually contained.
 12         69.    When purchasing Breyers Natural Vanilla Ice Cream, Plaintiff sought
 13   a product that was natural in that its flavor was provided exclusively by the natural
 14   characterizing flavor, vanilla.
 15         70.    Plaintiff read and relied on Unilever’s false and misleading product
 16   name (i.e., Breyers Natural Vanilla Ice Cream) and misleading claims in its labeling
 17   and advertising of the product.
 18         71.    Plaintiff also saw and relied on images on the Breyers Natural Vanilla
 19   Ice Cream cartons and containers, which misleadingly emphasize “natural vanilla”
 20   and “vanilla beans,” even though the amount of natural vanilla is not enough to
 21   impart a vanilla taste and the vanilla beans serve only a cosmetic and deceptive
 22   purpose. These images appeared in stores (on cartons and containers), on television
 23   and radio, and on the Internet.
 24         72.    Plaintiff purchased Breyers Natural Vanilla Ice Cream, and paid more
 25   for it than Plaintiff would have paid for ice cream that was labeled as “Vanilla
 26   Flavored” believing the product had qualities Plaintiff sought (e.g., sufficient
 27   vanilla flavor to impart a vanilla taste, only flavor from vanilla) based on the
 28   misleading labeling and marketing; but, the product was unsatisfactory to him for

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  1   the reasons described herein.
  2         73.    Breyers Natural Vanilla Ice Cream costs significantly more per ounce
  3   at stores like Walmart and Safeway than similar products labeled as “Vanilla
  4   Flavored Ice Cream.”
  5         74.    Plaintiff paid more for Breyers Natural Vanilla Ice Cream than
  6   Plaintiff would have had Plaintiff not been misled by the false and misleading
  7   labeling and advertising complained of herein. Plaintiff would not have purchased
  8   Breyers Natural Vanilla Ice Cream absent these misrepresentations.
  9         75.    For these reasons, the Breyers Natural Vanilla Ice Cream products
 10   were worth less than what Plaintiff paid for them.
 11         76.    Plaintiff purchased Breyers Natural Vanilla Ice Cream based on the
 12   false and misleading representations described herein.
 13         77.    Plaintiff lost money as a result of Unilever’s deception in that Plaintiff
 14   did not receive what he paid for.
 15         78.    Plaintiff altered Plaintiff’s position to Plaintiff’s detriment and
 16   suffered damages in an amount equal to the amount Plaintiff paid for the Breyers
 17   Natural Vanilla Ice Cream.
 18         79.    By engaging in its misleading and deceptive marketing, sales, and
 19   pricing scheme, Unilever reaped and continues to reap increased sales and profits.
 20         80.    Unilever is familiar with marketing research and knows that many of
 21   its customers purchase Breyers Natural Vanilla Ice Cream because they seek
 22   indulgence – not just a product that tastes good, but that contains ingredients they
 23   are familiar with and have a connection to the food they are used in.
 24         81.    Unilever knows that the vanilla content and flavor source of ice cream
 25   is material to consumers’ decision to purchase Breyers Natural Vanilla Ice Cream
 26   and is also regulated by law.
 27         82.    Unilever deliberately cultivates these misperceptions through its
 28   marketing, sales, and pricing scheme. Indeed, Unilever relies and capitalizes on

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  1   consumer misconceptions about Breyers Natural Vanilla Ice Cream.
  2                           CLASS ACTION ALLEGATIONS
  3         83.    Plaintiff brings this action as a class action pursuant to Rule 23 of the
  4   Federal Rules of Civil Procedure. The class that Plaintiff seeks to represent (the
  5   “Class” or “the California Class”) is composed of and defined as follows:
  6         All persons residing in California who have purchased Breyers Natural
  7         Vanilla Ice Cream for their own use (which includes feeding their
  8         families), and not for resale, since April 27, 2016. Excluded from the
  9         Class are: governmental entities; Defendant; any entity in which
 10         Defendant has a controlling interest; Defendant’s officers, directors,
 11         affiliates, legal representatives, employees, co-conspirators,
 12         successors, subsidiaries, and assigns; and any judge, justice, or judicial
 13         officer presiding over this matter and the members of their immediate
 14         families and judicial staff.
 15         84.    For the purposes of this Complaint, the term “Class Members” refers
 16   to all members of the Class, including the named Plaintiff.
 17         85.    This action is maintainable as a class action under Federal Rules of
 18   Civil Procedure Rule 23(a), (b)(2), and (b)(3).
 19         86.    Numerosity. The Class consists of many thousands of persons
 20   throughout the State of California. The Class is so numerous that joinder of all
 21   members is impracticable, and the disposition of their claims in a class action will
 22   benefit the parties and the Court.
 23         87.    Commonality and Predominance. The questions of law and fact
 24   common to the Class have the capacity to generate common answers that will drive
 25   resolution of this action. They predominate over any questions affecting only
 26   individual class members. Common questions of law and fact include, but are not
 27   limited to, the following:
 28                a.     Whether Unilever contributed to, committed, or is responsible

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  1   for the conduct alleged herein;
  2                b.      Whether Unilever’s conduct constitutes the violations of law
  3   alleged herein;
  4                c.      Whether Unilever acted willfully, recklessly, negligently, or
  5   with gross negligence in the violations of law alleged herein;
  6                d.      Whether Class Members are entitled to injunctive relief; and
  7                e.      Whether Class Members are entitled to restitution and damages.
  8         88.    By seeing the name, labeling, display, and marketing of Breyers
  9   Natural Vanilla Ice Cream, and by purchasing Breyers Natural Vanilla Ice Cream,
 10   all Class Members were subject to the same wrongful conduct.
 11         89.    Absent Unilever’s material deceptions, misstatements, and omissions,
 12   Plaintiff and other Class Members would not have purchased Breyers Natural
 13   Vanilla Ice Cream.
 14         90.    Typicality. Plaintiffs’ claims are typical of the claims of the Class
 15   Members because Plaintiff purchased Breyers Natural Vanilla Ice Cream products
 16   and was injured thereby. The claims of Plaintiff and other Class Members are based
 17   on the same legal theories and arise from the same false, misleading, and unlawful
 18   conduct.
 19         91.    Adequacy. Plaintiff is an adequate representative of the Class because
 20   Plaintiff’s interests do not conflict with those of other Class Members. Each Class
 21   Member seeks damages reflecting a similar and discrete purchase or purchases that
 22   each Class Member made. Plaintiff has retained competent and experienced class
 23   action counsel, who intend to prosecute this action vigorously. The Class Members’
 24   interests will be fairly and adequately protected by Plaintiff and Plaintiff’s counsel.
 25         92.    Superiority. A class action is superior to other available methods for
 26   the fair and efficient adjudication of this controversy because joinder of all Class
 27   Members is impracticable. The amount at stake for each consumer, while
 28   significant, is such that individual litigation would be inefficient and cost-

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  1   prohibitive. Plaintiff anticipates no difficulty in the management of this action as a
  2   class action.
  3         93.       This Court should certify a class under Rule 23(b)(2) and (b)(3)
  4   because Defendant has acted or refused to act on grounds that apply generally to the
  5   Class, by making illegal, unfair, misleading, and deceptive representations and
  6   omissions regarding Breyers Natural Vanilla Ice Cream.
  7         94.       Notice to the Class. Plaintiff anticipates that this Court can direct
  8   notice to the Class, to be effectuated by publication in major media outlets and the
  9   Internet.
 10                                         FIRST CLAIM
 11                        (ON BEHALF OF THE CALIFORNIA CLASS)
 12                        Violation of California’s Unfair Competition Law,
 13                              Cal. Bus. & Prof. Code § 17200 et seq.
 14                                    Unlawful Conduct Prong
 15         95.       Plaintiff incorporates by reference all allegations contained in the
 16   complaint as if fully set forth herein.
 17         96.       California’s Unfair Competition Law, Cal. Bus. & Prof. Code § 17200
 18   et seq. (“UCL”), prohibits any “unlawful, unfair or fraudulent business act or
 19   practice.”
 20         97.       The acts, omissions, misrepresentations, practices, and non-disclosures
 21   of Unilever, as alleged herein, constitute “unlawful” business acts and practices in
 22   that they violate the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq.
 23   (“FFDCA”), and its implementing regulations, including, at least, the following
 24   sections:
 25                   a.      21 U.S.C. § 343, which deems food misbranded when the label
 26   contains a statement that is “false or misleading in any particular,” with
 27   “misleading” defined to “take[] into account (among other things) not only
 28   representations made or suggested by statement, word, design, device, or any

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  1   combination thereof, but also the extent to which the labeling or advertising fails to
  2   reveal facts material”;
  3                   b.    21 U.S.C. § 321(n), which states the nature of a false and
  4   misleading advertisement;
  5                   c.    21 U.S.C. § 343(g), which deems a food misbranded if it
  6   purports to be a food which is subject to a standard of identity but does not comply
  7   with such standard due to not containing the ingredients required by the standard;
  8                   d.    21 C.F.R. § 101.18(b), which prohibits true statements about
  9   ingredients that are misleading in light of the presence of other ingredients;
 10                   e.    21 C.F.R. § 135.110(f)(2)(i), which prohibits a product from
 11   being labeled as “vanilla ice cream” where it contains flavor from sources other
 12   than its natural characterizing flavor, which is considered to be an “artificial
 13   flavor”; and
 14                   f.    21 C.F.R. §135.110(f)(5)(i), which states that if the amount of
 15   vanillin used is greater than 1 ounce per unit of vanilla constituent it is an artificial
 16   flavor.
 17         98.       Unilever’s conduct is further “unlawful” because it violates
 18   California’s False Advertising Law, Cal Bus. & Prof. Code § 17500 et seq.
 19   (“FAL”), and California’s Consumers Legal Remedies Act, Cal. Civ. Code § 1750
 20   et seq. (“CLRA”), as discussed in the claims below.
 21         99.       Unilever’s conduct also violates California’s Sherman Food, Drug, and
 22   Cosmetic Law, Cal. Health & Saf. Code § 109875 et seq. (“Sherman Law”),
 23   including, at least, the following sections:
 24                   a.    Section 110100 (adopting all FDA regulations as state
 25   regulations);
 26                   b.    Section 110290 (“In determining whether the labeling or
 27   advertisement of a food . . . is misleading, all representations made or suggested by
 28   statement, word, design, device, sound, or any combination of these, shall be taken

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  1   into account. The extent that the labeling or advertising fails to reveal facts
  2   concerning the food . . . or consequences of customary use of the food . . . shall also
  3   be considered.”);
  4                 c.     Section 110390 (“It is unlawful for any person to disseminate
  5   any false advertisement of any food . . . . An advertisement is false if it is false or
  6   misleading in any particular.”);
  7                 d.     Section 110395 (“It is unlawful for any person to manufacture,
  8   sell, deliver, hold, or offer for sale any food . . . that is falsely advertised.”);
  9                 e.     Section 110398 (“It is unlawful for any person to advertise any
 10   food, drug, device, or cosmetic that is adulterated or misbranded.”);
 11                 f.     Section 110400 (“It is unlawful for any person to receive in
 12   commerce any food . . . that is falsely advertised or to deliver or proffer for delivery
 13   any such food . . . .”); and
 14                 g.     Section 110660 (“Any food is misbranded if its labeling is false
 15   or misleading in any particular.”).
 16          100. Each of the challenged statements made and actions taken by Unilever
 17   violates the FFDCA, the CLRA, the FAL, and the Sherman Law, and therefore
 18   violates the “unlawful” prong of the UCL.
 19          101. Unilever leveraged its deception to induce Plaintiff and members of
 20   the Class to purchase products that were of lesser value and quality than advertised.
 21          102. Unilever’s deceptive advertising caused Plaintiff and members of the
 22   Class to suffer injury in fact and to lose money or property, as it denied them the
 23   benefit of the bargain when they decided to purchase Breyers Natural Vanilla Ice
 24   Cream over other products that are less expensive and contain virtually the same or
 25   immaterially different amounts of vanilla. Had Plaintiff and the members of the
 26   Class been aware of Unilever’s false and misleading advertising tactics, they would
 27   not have purchased Breyers Natural Vanilla Ice Cream at all or would have paid
 28   less than what they did for it.

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  1            103. In accordance with California Business and Professions Code section
  2   17203, Plaintiff seeks an order enjoining Unilever from continuing to conduct
  3   business through unlawful, unfair, and/or fraudulent acts and practices and to
  4   commence a corrective advertising campaign.
  5            104. Plaintiff also seeks an order for the disgorgement and restitution of all
  6   monies from the sale of Breyers Natural Vanilla Ice Cream products that were
  7   unjustly acquired through acts of unlawful, unfair, and/or fraudulent competition.
  8            105. THEREFORE, Plaintiff prays for relief as set forth below.
  9                                      SECOND CLAIM
 10                     (ON BEHALF OF THE CALIFORNIA CLASS)
 11                     Violation of California’s Unfair Competition Law,
 12                           Cal. Bus. & Prof. Code § 17200 et seq.
 13                          Unfair and Fraudulent Conduct Prongs
 14            106. Plaintiff incorporates by reference all allegations contained in the
 15   complaint as if fully set forth herein.
 16            107. As set forth above, the UCL prohibits any “unlawful, unfair or
 17   fraudulent business act or practice.”
 18            108. The false and misleading labeling of Breyers Natural Vanilla Ice
 19   Cream, as alleged herein, constitutes “unfair” business acts and practices because
 20   such conduct is immoral, unscrupulous, and offends public policy. Further, the
 21   gravity of Unilever’s conduct outweighs any conceivable benefit of such conduct.
 22            109. The acts, omissions, misrepresentations, practices, and non-disclosures
 23   of Unilever as alleged herein constitute “fraudulent” business acts and practices
 24   because Unilever’s conduct is false and misleading to Plaintiff and members of the
 25   Class.
 26            110. Unilever’s labeling and marketing of Breyers Natural Vanilla Ice
 27   Cream is likely to deceive Class Members about the flavoring source and amount of
 28   vanilla of Breyers Natural Vanilla Ice Cream.

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  1         111. Unilever either knew or reasonably should have known that the claims
  2   and statements on the labels of Breyers Natural Vanilla Ice Cream were likely to
  3   deceive consumers.
  4         112. In accordance with California Business and Professions Code section
  5   17203, Plaintiff seeks an order enjoining Unilever from continuing to conduct
  6   business through unlawful, unfair, and/or fraudulent acts and practices and to
  7   commence a corrective advertising campaign.
  8         113. Plaintiff also seeks an order for the disgorgement and restitution of all
  9   monies from the sale of Breyers Natural Vanilla Ice Cream products that were
 10   unjustly acquired through acts of unlawful, unfair, and/or fraudulent competition.
 11         114. THEREFORE, Plaintiff prays for relief as set forth below.
 12                                      THIRD CLAIM
 13                    (ON BEHALF OF THE CALIFORNIA CLASS)
 14                    Violation of California’s False Advertising Law,
 15                          Cal. Bus. & Prof. Code § 17500 et seq.
 16                            False and Misleading Advertising
 17         115. Plaintiff incorporates by reference all allegations contained in the
 18   complaint as if fully set forth herein.
 19         116. California’s FAL prohibits “mak[ing] any false or misleading
 20   advertising claim.”
 21         117. As alleged herein, Unilever, in its labeling of Breyers Natural Vanilla
 22   Ice Cream, makes “false [and] misleading advertising claim[s],” as it deceives
 23   consumers as to the flavor composition and amount of vanilla of Breyers Natural
 24   Vanilla Ice Cream.
 25         118. In reliance on these false and misleading advertising claims, Plaintiff
 26   and members of the Class purchased and used Breyers Natural Vanilla Ice Cream
 27   without the knowledge that Breyers Natural Vanilla Ice Cream did not contain only
 28   flavor from vanilla and its vanilla taste was provided mainly by non-vanilla,

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  1   artificial sources.
  2          119. Unilever knew or should have known that its labeling and marketing
  3   was likely to deceive consumers.
  4          120. As a result, Plaintiff and the Class Members seek injunctive and
  5   equitable relief, restitution, and an order for the disgorgement of the funds by which
  6   Unilever was unjustly enriched.
  7          121. THEREFORE, Plaintiff prays for relief as set forth below.
  8                                     FOURTH CLAIM
  9                      (ON BEHALF OF THE CALIFORNIA CLASS)
 10               Violation of California’s Consumers Legal Remedies Act,
 11                                Cal. Civ. Code § 1750 et seq.
 12          122. Plaintiff incorporates by reference all allegations contained in the
 13   complaint as if fully set forth herein.
 14          123. The CLRA adopts a statutory scheme prohibiting various deceptive
 15   practices in connection with the conduct of a business providing goods, property, or
 16   services primarily for personal, family, or household purposes.
 17          124. Unilever’s policies, acts, and practices were designed to, and did,
 18   result in the purchase and use of Breyers Natural Vanilla Ice Cream primarily for
 19   personal, family, or household purposes, and violated and continue to violate the
 20   following sections of the CLRA:
 21                 a.      Section 1770(a)(2), which prohibits representing that goods
 22   have a particular composition or contents that they do not have;
 23                 b.      Section 1770(a)(5), which prohibits representing that goods
 24   have characteristics, uses, benefits, or ingredients that they do not have;
 25                 c.      Section 1770(a)(7), which prohibits representing that goods are
 26   of a particular standard, quality, or grade if they are of another;
 27                 d.      Section 1770(a)(9), which prohibits advertising goods with
 28   intent not to sell them as advertised; and

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  1                 e.       Section 1770(a)(16), which prohibits representing that the
  2   subject of a transaction has been supplied in accordance with a previous
  3   representation when it has not.
  4         125. As a result, in accordance with California Civil Code section
  5   1780(a)(2), Plaintiff and members of the Class have suffered irreparable harm and
  6   seek equitable relief in the form of an order:
  7                 a.       Enjoining Unilever from continuing to engage in the deceptive
  8   practices described above;
  9                 b.       Requiring Unilever to make full restitution of all monies
 10   wrongfully obtained as a result of the conduct described above;
 11                 c.       Requiring Unilever to disgorge all ill-gotten gains flowing from
 12   the conduct described above;
 13                 d.       Requiring Unilever to provide public notice of the true nature of
 14   Breyers Natural Vanilla Ice Cream; and
 15                 e.       Enjoining Unilever from such deceptive business practices in
 16   the future.
 17         126. Pursuant to California Civil Code sections 1752, 1780, and 1781,
 18   Plaintiff, on behalf of himself and other Class Members, seeks actual and punitive
 19   damages in an amount to be determined at trial, distribution of notice to the Class,
 20   an order of this Court enjoining Unilever from the unlawful practices described
 21   herein and requiring Unilever to provide refunds, as well as an award of costs of
 22   litigation and attorneys’ fees.
 23         127. Pursuant to California Civil Code section 1782, a CLRA pre-suit
 24   demand was sent to Unilever in writing of the particular violations of section 1770
 25   of the CLRA via certified letter sent February 13, 2020, return receipts requested, to
 26   Amanda Sourry, Unilever’s Chief Executive Officer, at 700 Sylvan Avenue,
 27   Englewood Cliffs, New Jersey 07632, and to Unilever’s registered agent in the
 28   State of California.

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  1         128. The CLRA demand letter to Unilever included the legal basis for the
  2   claim and informed Unilever that unless it complied with the demand, a Complaint
  3   would be filed which would include claims for actual damages, punitive damages,
  4   and all other damages permitted under the CLRA. Plaintiff’s undersigned counsel
  5   received electronic return receipts via U.S. Mail indicating that Plaintiff’s CLRA
  6   demand letters were received by Unilever on February 19, 2020. More than 30 days
  7   have passed, and Unilever has failed to meaningfully respond to Plaintiff Nuñez’s
  8   CLRA demand letter.
  9         129. THEREFORE, Plaintiff prays for relief as set forth below.
 10                                  PRAYER FOR RELIEF
 11         WHEREFORE, Plaintiff, on behalf of himself and the other members of the
 12   proposed Class herein, prays for judgment and relief on all of the legal claims as
 13   follows:
 14         A.       An order certifying that the action may be maintained as a class action
 15   and requiring Unilever to bear the cost of class notice;
 16         B.       An order enjoining Unilever from pursuing the policies, acts, and
 17   practices complained of herein;
 18         C.       An order compelling Unilever to destroy all misleading and deceptive
 19   advertising materials and packaging;
 20         D.       An order requiring Unilever to pay restitution to Plaintiff and all
 21   members of the Class;
 22         E.       An order requiring Unilever to pay actual damages to Plaintiff and all
 23   members of the Class;
 24         F.       Punitive damages;
 25         G.       Pre-judgment interest from the date of filing suit;
 26         H.       Costs, expenses, and reasonable attorneys’ fees; and
 27         I.       Such other and further relief as the Court may deem necessary or
 28   appropriate.

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  1                                JURY TRIAL DEMAND
  2         Plaintiff demands a jury trial on all causes of action so triable.
  3   Date: April 27, 2020                       Respectfully submitted,
  4                                              REESE LLP
  5                                          By: /s/ Michael R. Reese
                                                Michael R. Reese (SBN 206773)
  6                                             mreese@reesellp.com
                                                100 West 93rd Street, 16th Floor
  7                                             New York, New York 10025
                                                Telephone: (212) 643-0500
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  9                                              REESE LLP
                                                 George V. Granade (SBN 316050)
 10                                              ggranade@reesellp.com
                                                 8484 Wilshire Boulevard, Suite 515
 11                                              Los Angeles, California 90211
                                                 Telephone: (310) 393-0070
 12                                              Facsimile: (212) 253-4272
 13                                              SHEEHAN & ASSOCIATES, P.C.
                                                 Spencer Sheehan (Pro Hac Vice to be
 14                                              Submitted)
                                                 505 Northern Boulevard, Suite 311
 15                                              Great Neck, New York 11021-5101
                                                 Telephone: (516) 303-0552
 16                                              Email: spencer@spencersheehan.com
 17                                              Counsel for Plaintiff Steve Nuñez
                                                 and the Proposed Class
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  1                         AFFIDAVIT OF MICHAEL R. REESE
  2             PURSUANT TO CALIFORNIA CIVIL CODE SECTION 1780
  3         Michael R. Reese declares:
  4         1.      I am an attorney duly admitted to practice before this Court. I am a
  5   partner in the law firm of Reese LLP, attorneys of record for Plaintiff Steve Nuñez.
  6         2.      I am one of the attorneys principally responsible for the handling of
  7   this matter. I am personally familiar with the facts set forth in this declaration, and
  8   if called as a witness, I could and would competently testify to the matters stated
  9   herein.
 10         3.      This action has been commenced in a county described in California
 11   Civil Code section 1780 as a proper place for the trial of the action. The
 12   transactions or a substantial portion thereof occurred in Los Angeles County,
 13   California.
 14         I declare under penalty of perjury under the laws of the United States of
 15   America that the foregoing is true and correct.
 16         Executed on April 27, 2020, at New York, New York.
 17
                                                           /s/ Michael R. Reese
 18                                                          Michael R. Reese
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